Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 1 of 207
    Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 2 of 207



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    Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 3 of 207




                                       EXHIBITS

          NUMBER                                                        PAGE

            7         Photograph                                         26

            8         Photograph                                         26

            9         Package containing Lauryn Hill
                      nightshirt                                         29




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Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 4 of 207
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 5 of 207




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                                                                                 5

      1               your daughter.

      2                            As you went outside to search, did anyone

      3               join you?

      4         A     Yes.

      5         Q     Who was that?

      6         A     My fiance.

      7                            THE COURT: Excuse me.     You've got to sit

      8               forward, speak into the microphone, and keep your

      9               voice up.

     10                            THE WITNESS: Okay.

     11         Q     And what's your fiance's name?




•    12

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     14
                A

                Q
                      Terry Cousins.

                      How did he know -- if you know, how did he know what

                      was going on there?

     15         A     While I was en route, I called him from my cell

     16               phone.

     17         Q     When you were en route to 34 Fidel is Way?

     18         A     Yes.

     19         Q     Where did you meet him?

     20         A     I met him in front of Polly Taylor's house.

     21         Q     And could you tell how he had gotten there?

     22         A     He drove his car.



.,   23

     24
                Q

                A
                      What did the two of you do?

                      At first we drove to go ask some of the other kids,
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 6 of 207
             Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 7 of 207



                                                                                      7



•    1

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     3
                   Q
                         stenographer.     You have to keep your voice up.

                         Can you indicate on this diagram where the park was

                         that you went to look for her, where you had heard

     4                   she had been?

     5             A     It was over here.     This park, right here.

     6             Q     This park, right here, by the tennis courts?

     7             A     Uh-huh.

     8   I         Q     Please resume the stand.

     9                               What did you find when you got to the park?

    10             A     It was -- there was no kids down there playing.

    11             Q     Did you -- well, did you learn the identity of the




•
    12                   girls she had been playing with earlier?

    13             A     Yes, I did.

    14             Q     And who were they?

    15             A     One of her friends Lolla, and two twins 1 Taisha and

    16                   Maisha.

    17             Q     And is Lolla       is her full name Shalana Wright?

    18             A     Yes 1 it is.

    19             Q     And do you know Taisha and Maisha, how they spell

    20                   their first names?

    21             A     I do not know.

    22             Q     Okay.     I'm going to ask you, if you would, to move

    23                   the microphone so you're speaking right into it.        If



•   24                   you need to pull it -- you can tilt it up.
             Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 8 of 207




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                                                                                    8

     1                               You do not know Taisha and Maisha's last

     2                   name?

     3             A     No, I do not.

     4             Q     Do those girls live in the Fidelis Way/Jetty Court

     5                   development?

     6             A     Yes, they do.

     7             Q     Okay.   Did you try to locate those girls?

     8   I         A     Yes, I did.

     9             Q     Did you locate them?

    10             A     Yes, I did.

    11             Q     And where were they when you located them?




•   12

    13

    14
                   A

                   Q
                         They went home.

                         And could you tell -- did you know what they were

                         doing at home?

    15             A     Their mothers had told me that they were in bed,

    16                   sleeping.

    17             Q     Did you ever see either of those girls that night?

    18                   Any of the three of those girls that night?

    19             A     Yes, I did.

    20             Q     And was that       when was that in relation to when you

    21                   went looking for them?

    22             A     When I first got there in -- the first little girl's

    23                   mother said that her daughter was upstairs in bed,



•   24                   sleeping, and she would get her.        So she woke her,
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 9 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 10 of 207
               Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 11 of 207



                                                                                                       11


•    1

     2

     3
                     Q



                     A
                           Is that part of Jetty Court, the Jetty Court

                           Development?

                           It is -- well, it's a part of Fidel is Way.

     4               Q     Okay.    Can you, with the Court's permission, step
     c:
     --'                   do\.vn from the stand and just point to where that

     6                     building is, if it appears on the diagram?                         If you

     7                     can·.

     8     I                            Step around      -~--~
                                                         L-V     the side.   VI'""'\,,
                                                                             .._ '-' u.   can step

     9                     around this side, but just -- I don't think all the

    10                     jurors can see.     There you go.

    11               A     The building over here.




•   12

    13

    14
                     Q



                     A
                           And just so that the jurors                 for a frame of

                           reference, can you point to 34 Fidel is Way again?

                           34 is over here.

    15               Q     I'm sorry.     Is that -- if this is Fidel is Way here,

    16                     is this 34?

    17               A     Yes.

    18               Q     Step to the side again, and point so the jurors can

    19                     see.

    20               A     This is 34 here,    --..:1
                                               ctllU    the building is here.                 Sixteen .

    21               Q     Please resume the stand.

    22                                  And when you say Ruby Williams's house, is

    23                     it actually an apartment?



•   24               A     It's an apartment, yes.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 12 of 207




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                                                                              12

     1         Q     Who was there when you got there?

     2         A     Her granddaughter, Michelle, and Ruby Williams.

     3         Q     What's her granddaughter     1
                                                      S   name?

     4         A     Michelle.

     5         Q     Michelle?

     6         A     Yes.

     7         Q     Do you·know her last name?·

     8         A     Williams, I believe.

     9         Q     Okay.   How is -- is Ruby Williams Michelle's maternal

    10               or paternal grandmother?

    11         -A    Paternal.




•   12

    13

    14
               Q

               A

               Q
                     Paternal?

                     Yes.

                     So Ruby Williams' son is Michelle Williams' father?

    15         A     Yes.

    16         Q     How is Ruby Williams related to the defendant Owen

    17               McCants?

    18         A     It's her brother.

    19         Q     How old is Ruby Williams?

    20         A     I'm unsure.

    21         Q     What would you estimate?

    22         A     Probably about maybe 60.

    23         Q     And how old is Michelle Williams?



•   24         A     She's about 18.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 13 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 14 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 15 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 16 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 17 of 207



                                                                                   17



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     3
               A     We walked around some more, looking for her.

                      talking, speaking with the police, to see if they had

                      any more information than what we had started out
                                                                              We were




     4               with.    Then we went back upstairs to Polly Taylor's

     5                apartment again.

     6          Q    Did you, at any point, go into the stairwell of that

    7                 apartment building?

     8               Yes.    We used the stairwell each time, coming down.

     9          Q    Are you familiar with that stairwell from prior

    10                experience?

    11         A     Yes, I am.




•
    12          Q    Did you notice anything unusual about the stairwell

    13               when you were in it that night?

    14         A      It was pitch black.

    15          Q    Had you ever seen it -- was it pitch black all the

    16               way up and down?

    17         A     No, it was not.

    18          Q    Where was there light?

    19         A     On the sixth floor.

    20          Q     Soi two floors above the floor of Polly Taylor's

    21                apartment?

    22          A     Yes.

    23          Q     But below that, no light?



•   24          A     No light.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 18 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 19 of 207



                                                                                   19


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     2

     3
               Q     Excluding police officers for a moment 1 by that time

                     how many people would you say were in the area

                     immediately outside 34 Fidelis Way and on the street 1

     4               Fidelis way?

     5         A     Probably about 100 residents.          There's a lot of

     6               residents.

     7         Q     And what was the atmosphere of the crowd at that

     8               point?

     9         A     They were just -- disbelief.          They couldn't believe

    10               itr that it happened.

    11         Q     What   1
                                S   the next thing that you did?




•   12

    13

    14
               A     I placed the scrunchie on top of the police cruiser 1

                     and we were waiting for the dog to come on the

                     premises.

    15         Q     And what happened next?

    16         A     We were just walking around/ waiting.          Waiting.   Then

    17               we were waiting for the building manager to come to

    18               open the basement to the building.

    19         Q     What's the next thing that you did?

    20         A     When they found -- the manager came on the premises,

    21               they opened the basement, and there was nothing

    22               there.         They came back out and we were just wondering

    23               if the dog had arrived.          The dog was there, at that



•   24               point, but something was wrong where he couldn't pick
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 20 of 207




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                                                                                 20

     1               up the trail.     Or something -- the dog was sick or

     2                something, and they never put the dog on the case.

     3          Q    What's the next thing that happened?

     4         A     We were just waiting, waiting for the cops.

     5          Q    When you say "waiting for the cops 1      "   what do you mean

     6               by that?

     7         A     They were putting together a search, a method to

     8               search the perimeters around Fidelis Way and to

     9               search Fidelis Way again.       Search teams.

    10         Q     How many officers, by that point, would you say were

    11               on the scene?



•   12

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    14
               A     By that time they had at least two available officers

                     from each unit of Dorchester, and all over, to come

                     and assist in the search.       So there was probably

    15               about maybe 150 to 200 officers.

    16         Q     Is that an exact number, or are you estimating?

    17         A     I'm estimating.

    18         Q     And where were those officers congregating to

    19               organize the search?

    20         A     Right outside 34 Fidelis Way, in the parking lot.

    21         Q     The parking lot across the street from Fidelis Way?

    22         A     Uh-huh.

    23         Q     Okay.     Between Fidelis Way -- well, actually, maybe I



•   24               can save us some time.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 21 of 207
           Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 22 of 207




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                                                                                                                                   22

     1           A     Running through the CTA parking lot.

     2           Q      Is that the parking lot where the police were forming

     3                  for a search?

     4           A     Yes.
     t::
     .J          Q     And describe              you said she was running.                                              Describe

     6                 her as she ran, how she appeared to you as she ran.

     7           A     She was kind of like galloping, and she was just,

     8                 like, swaying    .{::,__,.....,.TV'\
                                        .L .L LILLL           s~ri=
                                                               ...............   +-r-
                                                                                 ..... ._.   o;r!o
                                                                                             t-1-L.'-'lo:-J   crying, kind of

     9                 crying.

    10           Q     Describe her physical appearance.                                                       That is, how she

    11                 appeared to you as you saw her running.




•   12

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    14
                 A     Her hair was all over the place, and her eyes were

                       just big and glassy.

                       Her toes had blood on them.
                                                                        And she was just galloping.



    15           Q     How was her hair usually?

    16           A     It's usually in a scrunchie or some form of a braid.

    17                 It's never out.

    18           Q     Had you ever seen her looking anything like that

    19                 before?

    20           A     Never.

    21           Q     What was she wearing when you saw her?

    22           A     She was wearing a T-shirt, a Lauryn Hill T-shirt.

    23           Q     And is that a T-shirt that was the right -- a



•   24                 proportionately-sized T-shirt for a girl her size?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 23 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 24 of 207
             Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 25 of 207




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                                                                                  25

     1                   evening.

     2                                THE COURT: So, it was six o'clock that

     3                   evening of the day that you first saw --

     4                                MR. DEAKIN: Friday

     5                                THE WITNESS: Yes.     Friday.

     6                                MR. DEAKIN: Friday, the 14t11 •

     7                                THE WITNESS: Yes.

     8   I         Q     And are these fair and accurate representations of

     9                   how her injuries appeared at six o'clock that

    10                   evening?

    11             A     Yeah.




•   12

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    14
                   Q




                   A
                         You're hesitating.

                         hesitating?
                                                 Can you explain why you're



                         Because the cut was a lot bigger than that, .and I

    15                   guess it's the lighting.       You can't really see.

    16             Q     Aside from the lighting, is that a fair and accurate

    17                   representation?     Is that, in fact, where the cut was

    18                   and generally how it appeared?

    19             A     No.     It was bleeding.

    20             Q     I'm asking about when the photograph was taken.

    21             A     Yes.    Yes, it was.

    22                                MR. DEAKIN: I'd·move to introduce these.

    23                                MR. SHEA: May we go to the side bar?

•   24
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 26 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 27 of 207



                                                                                   27

     1         A     Behind her left ear.

     2         Q      In the same place -- is the scar a result of the cut

     3               that's demonstrated in that picture?

     4         A     Yes, it is.

     5         Q     Did she have any scar there prior to Thursday, July

     6               13th   0   f    2000?

     7         A     No, she did not.

     8         Q     You say that when you saw her she was bleeding from

     9               that area?

    10         A     Yes.

    11         Q     Can you describe how profusely she was bleeding in




•
    12               that area?

    13         A     She had, like, three trickles of blood.           They were

    14               probably, like, tear-sized.

    15         Q     Tear-sized?

    16         A     Tear drop sized.

    17         Q     Did you see any drying or what appeared to you to be

    18               drying or dried blood anywhere?

    19         A     Yes.           Running down her neck, a couple of dry blood

    20               spots, and over here (indicating).

    21         Q     What about -- did you examine her hair?

    22         A      In her hair she had blood, as well.

    23         Q     How much blood was there?



•   24         A     Probably about, maybe, about this much of it had
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 28 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 29 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 30 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 31 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 32 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 33 of 207



                                                                                 33

     1               confirming the description.        It's allowing in hearsay

     2                in the back door.

     3                           MR. DEAKIN: There are two exceptions that

     4               apply.    One is a statement of identification

     5                           THE COLTRT: Y'Jhat if -- excuse me.

     6                           Do you want to take the jury out for a

     7               second.

     8                               (Jurors exit at 11:00.)

     9                           THE COURT: I'm going to ask her directly,

    10               because I don't know what she's going to say.

    11                           MR. DEAKIN: May I just -- before your Honor



•   12

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    14
                     does that, may I interrupt for one second.

                                 The full answer to that question

                                 THE COURT: I want to know.

    15                           MR. DEAKIN: Your Honor, if I may,        I want to

    16               let the Court know what I've instructed her.

    17                           The full answer to that question, she would

    18               say -- if there were no rules of evidence -- she

    19               would say she described him to me

    20                           THE COu.KT: Excuse me.

    21                           What was it that made you ask "Was it

    22               Sonny?"

    23                           THE WITNESS: Well, me and my fiance



•   24                           THE COURT: Speak up, speak up.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 34 of 207




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                                                                                       34

     1                            THE WITNESS: Me and my fiance were asking

     2                her, What did the man look like? in reference to

     3                that, and she was telling us what the description of

     4                it.   And when he asked her a question, that's when I,

     5                in turn, said to her, "Was it Sonny?"

     6                            THE COURT: What was the description that

     7                she told you?

     8                            THE WITNESS: She told me that he had -- she

     9                said he was brown-skinned, light brown skin.              She

    10                said he had curly black hair.             She said he had a long

    11                nose with beady eyes.      That   1
                                                            S   the description that



•   12

    13

    14
                      she had given us.

                                  THE COURT: And what's your objection?

                                  MR. SHEA: My objection is that she could

    15                have testified as to what the description is herself.

    16                This is hearsay as to what her description is.

    17                            THE COURT: That the young girl could have

    18                testified

    19                            MR. SHEA: The young girl 1 yeah.

    20                            THE COURT: All right.

    21                            MR. DEAKIN: For what it 1 s worthr she was an

    22                eleven-year-old girl with cocaine in her system 1 who

    23               had just been raped.      Your Honor had a chance to see 1


•   24                some of her recall was difficult.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 35 of 207




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                                                                                    35

     1                            THE COURT: The problem I have is that, you

     2               know, this witness testified yesterday that there was

     3                a description given to her by her daughter that the

     4               guy had a mask.

     5                            MR. DEAKIN: That's the description of the

     6               man she saw outside earlier in the evening.              She

     7               never saw that man's face.·      The girl said she thought

     8                it was the same man, but she was giving the

     9               description of the man she saw earlier.          This is the

    10               description of the man who abducted her, which I

    11               think is the same man.



•   12

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    14
                      isn't --
                                  MR. SHEA: Well, I mean, her testimony



                                  THE COURT: Excuse me.     The objection is

    15               overruled.     She may answer the question.

    16                            MR. SHEA: Note my objection, for the

    17               record.

    18                            MR. DEAKIN: May I state one thing, just for

    19               the record, your Honor, so it's clear, this is what I

    20               wanted to tell the Court.

    21                            I believe her complete answer/ if your

    22               Honor asked her was there anything else that made her

    23               ask if it was Sonny is her prior history --


•   24                            THE COURT: No.    We're not going to
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 36 of 207



                                                                                        36

     1                           MR. DEAKIN: Understood.          In fact, your

     2               Honor, I have instructed her --

     3                           THE COURT: That's the reason why I stopped.

     4                           MR. DEAKIN: The reason she only told you

     5               that answer is I instructed her that unless somebody

     6               asks you really specifically did he do something to

     7               you when you were a child, you may not bring

     8               something forward.

     9                           So I just want the record to reflect there

    10               was actually two things that made her think that.

    11               She's only answering the one, because of my



•   12

    13

    14
                     instruction to her.

                                 THE COURT: He

                                 MR. SHEA: Right.
                                                 1
                                                     S   objected to both, but ....

                                                           But I also just want to

    15               make clear that if Mr. Deakin's argument is that we

    16               should let this description in because the young girl

    17               was under the influence of cocaine, and we can't

    18               trust that memory coming from her, why should we

    19               trust it coming through a second party?

    20                           THE COURT: Excuse me.          It's not really a

    21               description other than that somebody had some light

    22               brown skin.    And she asked her "Was it Sonny?"             She

    23               hasn't gotten into a description of him.


•   24                           MR. SHEA: Eyes, nose, hair.          That's what
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 37 of 207




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                                                                                37

     1               she's given.     And we haven't even got that from the

     2               young girl on the stand.       We have no description in

     3               terms of eyes, nose, or hair from the young girl.

     4                           MR. DEAKIN: Your Honor

     5                           THE COURT: Overruled.

     6                          (End of side-bar conference.)

     7

     8                           THE COL"'RT: You want to bring the jurors

     9               back in.

    10                           MR. SHEA: Just so werre clear, I don't have

    11               to stand up and object again in the presence of the




•   12

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    14
                     jury .

                                 THE COURT: No.

                                 MR. SHEA: Thank you.

    15

    16                                (Jurors enter 11:05.)

    17

    18                           THE COURT OFFICER: This court is back in

    19               session.    Please be seated.

    20                           THE COURT: You may answer the question;

    21               ma'am.

    22         Q     What was it that made you ask her "Was it Sonny?"

    23         A     Well, we had been asking her questions about what the



•   24               person had looked like, and she gave a couple of
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 38 of 207




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                                                                                     38

     1               details.

     2         Q     What were the details that she gave you?

     3         A     She said that he had black curly hair 1 and she said

     4               that he had had beady eyes.            And she also said that

     5               he also had a long nose 1 like a long, pointed nose.

     6         Q     Did she describe his skin coloration?

     7         A     She said that he was -- she said light brown skin.

     8                                   MR. SHEA: Objection.

     9                                   THE COURT: Overruled.

    10         Q     I   1
                             m sorry.      Could you repeat that answer?

    11         A     She said that he was light brown skinned.



•   12

    13

    14
               Q

               A

               Q
                     Did she describe his height?

                     She said he was tall 1 as well.

                     And based on that description/ you asked her 1 "Was it

    15               Sonny?         11




    16         A     Yes.

    17         Q     How did she respond when you asked her,           "Was it

    18               Sonny?         11




    19         A     She told me 1 "Yes.         11




    20         Q     Was there any hesitation in that answer?

    21                                   MR. SHEA: Objection.

    22                                   THE COURT: Sustained.

    23         Q     Did she appear to you to hesitate at all in saying



•   24               "Yes ?    11
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 39 of 207




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                                                                                   39

     1                             MR. SHEA: Objection.

     2                             THE COURT: Sustained.

     3          Q     When you got to the monastery area, what happened?

     4          A     The officer instructed her to take him where she had

     5                 just came   .C--~
                                   .LLUlll.



     6          Q     Did she -- was she seen by emergency medical

    . 7               technicians at all before that happened?

     8          A     Yes, she was.

     9          Q     And where did that take place?

    10          A     Right in front of the monastery.

    11          Q     And was it -- where -- what was           where was she when



•   12

    13

    14
                A

                Q
                      she was being examined in front of the monastery?

                      She was inside the ambulance.

                      Okay.    How long was she inside the ambulance at that

    15                time?

    16          A     Probably about two minutes.

    17          Q     Two minutes?

    18          A     Yes.

    19          Q     And then what happened?

    20          A     They had taken her back out because they wp.nted ....1..-V
                                                                               ~




    21                know where it was that she had just came from.

    22          Q     Who's "they"?

    23          A     The officers.


•   24          Q     So, what did you do?
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 40 of 207




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                                                                                       40

      1         A     We came out of the ambulance, we got in the car, the

      2               cruiser, and we went to where she had just came from.

      3         Q     Was it all the same people in the cruiser?

      4         A     Yes, it was.

      5         Q     In the same places where they were before?

      6         A     Yes, they were.

      7         Q     Was she still seated on your lap, facing you?

      8         A     She was turned around at that point.

      9         Q     And did the officers ask her to give directions?

     10         A     Yes, they did.

     11         Q     Okay.     Did she give directions?



••   12

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     14
                A

                Q

                A
                      Yes, she did.

                      Did she give them directly to the officers?

                      Yes.

     15         Q     She didn't give them to you?

     16         A     No.     She gave them to the officers, but she kind of

     17               told them to go this way, and then, when that was the

     18               wrong way, she said,     "No, Mommy, it's that way."            And

     19               that's when I said,     "No, she said to go this way.      11




     20         Q     So you assisted her in giving directions to the

     21               police?

     22         A     Yes.



.:   23

     24
                Q     Did she make -- did you make any false turns?

                      the car actually turn the wrong way?
                                                                               Did
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 41 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 42 of 207



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                     I would argue that this is still admissible as an

                     excited utterance, substantively.

                                  THE COURT: As to what happened?

     4                            MR. DEAKIN: What happened to her -- her

     5               statement of what happened to her is an excited

     6               utterance.     She's still, clearly, under the emotional

     7               sway of an exciting event.        She has·not had time to

     8               fabricate.

     9                            MR. SHEA: She's giving directions, Judge.

    10               She's reflecting on which way to go.         She's thinking,

    11               Is this the right way?       No, Mommy, that's not the




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    14
                     right way.     It's this way.     That 1 s someone who's

                     thinking rationally and clearly, and making choices.

                     This is not under the influence of an exciting event.

    15                            MR. DEAKIN: Your Honor, I've cited case law

    16               in my memo --

    17                            THE COURT: Excuse me.     What difference does

    18               it make?

    19                            MR. SHEA: What difference does it make?

    20                            THE COURT: Yeah.

    21                            MR. SHEA: Why is he trying to get it in?

    22               To further confirm the story.        And the fact is

    23               that --



•   24                            THE COURT: But you don 1 t dispute her story
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 43 of 207




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                                                                                                          43

     1               that she was raped.

     2                            MR. SHEA: Well, I dispute -- what becomes

     3               important for my case is that she's telling all sorts

     4               ol different stories.              I don't need her mother to

     5               further backup her story.

     6                            THE COURT: So, what is it she 1 s going to

     7               testify to?

     8                            IviR.   DEAKIN:    T."T_   1 1
                                                     VVC.L.L 1
                                                                   ~+-
                                                                   Cll..-   this   -nr"\;nt-
                                                                                   .!:-'~~··~   she's going

     9               to testify that she said a man took her.                                   I think

    10               she's going to testify he gave her something to

    11               smoke, sniff -- or smoke, drink and snort.                                  And took



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    14
                     her and touched her "down there."

                                  THE COURT: All right.

                                  MR. SHEA: Your Honor, the other thing is, I
                                                                              Overruled.



    15               mean, is this coming in -- the other area is he

    16               trying to get in fresh complaint?

    17                            MR. DEAKIN: Well, your Honor, my position

    18               is it's either admissible substantively, as excited

    19               utterance, or, at least, at a minimum, it's

    20               admissible -- it's clearly admissible as fresh

    21               complaint.

    22                            MR. SHEA: Well, no, it's not clearly

    23               admissible as that.            And I'll be very clear.                         I have


•   24               a case on it which says if the testimony of the
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 44 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 45 of 207




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                                                                                    45

     1          Q    And how did she answer that question?

     2         A     She said that he had -- she said he stuck his finger

     3                in her.

     4         Q      In her?

     5         A     Yes.

     6         Q     Did she say where in her he stuck his finger?

     7         A     She said that he stuck his finger in her private.

     8         Q     Did she say anything else that happened?

     9         A     She said that he had put his private down by her

    10               private.

    11         Q     And did she say what, if anything, he did with his



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    14
               A

               Q
                     private when he put it down by her private?

                     She said that he rubbed it down there.

                     Rubbed it?

    15         A     Yes.

    16         Q     Was she        as you were driving in the car, at this

    17               point, was she telling you things in a narrative

    18               fashion?      That is, from beginning, middle, and end,

    19               in that fashion?

    20         A     She was, like, all over.       Just -- she would say one

    21               thing and then she would go, He made me drink

    22               something, and he made me smoke something.           She was

    23                just, like, hysterical.


•   24         Q     Okay.      Where did you get to?    Where did you drive?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 46 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 47 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 48 of 207



                                                                               48

     1         A     We walked directly back to the entrance, and then the

     2               cops told us to come out.

     3         Q     When you came out, what     1
                                                     S   the next thing that

     4               happened?

     5         A     We walked back down to the street, and she pointed

     6               out the duct tape that she had pulled off of her.

     7         Q     Did you see it when she pointed it out?

     8         A     Yes, I did.

     9         Q     And what happened to the duct tape?

    10         A     It was left there for the officers to collect.

    11         Q     Did you see whether officers collected it?



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               A

               Q
                     I did not, no.

                     Did she indicate to you -- did she tell you how long

                     she was in the area, sort of the general area of that

    15               photograph, and the part sort of behind it and to the

    16               left?   Did she tell you how long she was there?

    17         A     No, she did not.

    18         Q     Did she tell you whether Sonny had stayed there the

    19               entire time with her?

    20         A     Most of the time.

    21         Q     And what did she tell you happened after the end of

    22               "most of the time"?

    23                           MR. SHEA: Objection.


•   24                           THE COURT: Sustained.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 49 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 50 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 51 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 52 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 53 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 54 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 55 of 207



                                                                              55

     1         A     Yes.

     2                              THE   COU~T:   Sustained.

     3                              MR. SHEA: Motion to strike.

     4                              THE COURT: Stricken.

     5         Q     What did you -- how long did it take to get to the

     6               hospital?

     7         A     Probably about ten minutes.

     8         Q     And what happened when you got to the hospital?

     9         A     She was taken into the room that she was told -- they

    10               were looking for a johnny big enough for her to put

    11               on.




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    14
               Q




               A
                     About what time would you estimate you arrived at the

                     hospital?

                     It had to be about 2:35         1   2:45.

    15         Q     And where was she taken?

    16         A     Back to one of the rooms/ the emergency rooms.

    17         Q     Were you with her the entire time?

    18         A     Yes 1 I was.

    19         Q     Was she interviewed by anyone while at the hospital?

    20         A     Yes   1   she was.

    21         Q     Who was that?

    22         A     A Detective Sergeant McDonough.

    23         Q     Was she interviewed by any hospital personnel first?



•   24         A     Yes   1   she was.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 56 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 57 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 58 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 59 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 60 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 61 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 62 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 63 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 64 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 65 of 207



                                                                                 65

     1               windows 1 say, in her living room, what will you see?

     2         A     It looks down between the two buildings.          There's

     3               like a little park there.

     4         Q     And what about if you look out her bedroom or kitchen

     5               windows?

     6         A     If you look out her bedroom, you'll see -- it's like

     7               the entrance corning into the parking lot.         Out of her.

     8               kitchen, you see parked cars and some of the park.

     9         Q     Now, .Christine Isaac's apartment, No. 5451 if you

    10               look out of her living room windows, what will you

    11               see?




•   12

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    14
               A




               Q
                     The living room, you see the front side of Fidelis

                     Way.

                     The front entrance area?

    15         A     Yes.

    16         Q     And in order to gain         in order to go from the

    17               outside of Fidelis Way, the entryway, inside, and get

    18               into an apartment, say, Polly Taylor's apartment, how

    19               many keys do you need?

    20         A     There's one key for the downstairs door, and there's

    21               one key for Polly Taylor's door.

    22         Q     Are those separate keys?

    23         A     Yes, they are.



•   24         Q     So, if you have the key to an apartment in Fidelis
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 66 of 207




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                                                                                   66

     1               Way, just a key to Polly Taylor's apartment, can you

     2               get in the front door without being buzzed in?           If

     3               you just have an apartment key?

     4         A     No.

     5         Q     Okay.    Sometime after this happened, 'tHere you called

     6               to testify in the grand jury?

     7         A     Yes, I was.

     8         Q     And did you d0 t~hat?

     9         A     Yes, I did.

    10         Q     Also, at some point after this happened, did you

    11               learn      just yes or no -- anything about a letter




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    14
               A
                     sent by the defendant to Polly Taylor?

                     Yes, I did.

                                 MR. SHEA: Objection.

    15                           THE COURT: Overruled.

    16         Q     And who -- without saying what they said -- who

    17               notified you about that letter?

    18         A     My Nana called me.

    19                           MR. SHEA: Objection.

    20                           THE COURT: Overruled.

    21         Q     That's Polly Taylor?

    22         A     Yes, it is.

    23                           MR . DEAKIN: No further questions.



•   24                           THE COURT: Mr. Shea.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 67 of 207




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                                                                              67

     1                                  CROSS-EXAMINATION

     2         Q      (By Mr. Shea) Good morning.

     3         A     Good morning.

     4         Q     Now, Mr. Deakin just alluded to the fact that you

     5               testified before the grand jury.

     6         A     Yes, I did.

     7         Q     And you remember testifying before the grand jury?

     8         A     Yes, I do.

     9         Q     And that was a long time ago 1 now, right?

    10         A     Pretty much, yes.

    11         Q     And it was right around -- not shortly after the




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    13

    14
               A

               Q
                     events, correct?

                     It was somewhat after the events.

                     Okay.    Now, you testified -- has Mr. Deakin ever

    15               showed you your grand jury testimony?

    16         A     Yes.    I do have a copy of it.

    17         Q     He gave you a copy of it?

    18         A     Yes.

    19         Q     And he told you to read it over in preparation for

    20               your testimony here, didn't he?

    21         A     Yes.    You could say that.

    22         Q     Okay.    And how many times did you meet with Mr.

    23               Deakin in preparing for trial?



•   24         A     I'm not sure.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 68 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 69 of 207




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     1               questions, I was only told to answer the questions I

     2               was asked.     And that was not some of the questions

     3               that I was asked.

     4         Q     So, you are saying that you were not asked whether

     5               there was a description of the individual?

     6         A     Not on the grand jury.

     7         Q     Okay.    At the grand jury, on page 76, you testified

     8               that she looked back, meaning your daughter/ and seen

     9               his face.     Correct?

    10         A     Yes.

    11         Q     Okay.    So you believed 1 from your testimony, that she




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    14
               A

               Q
                     had seen the person's face, correct?

                     Yes.

                     Okay.    And you were asked the question, "Did you ask

    15               whether she recognized the face?"         Do you recall

    16               being asked that question?

    17         A     Yes.

    18         Q     Okay.    And you answered, "No, I didn't.        Not at the

    19               time."     Correct?

    20         A      I'm not sure.

    21         Q     Okay.    If I show you the portion of your testimony,

    22               would that refresh your recollection?

    23         A     Yes .



•   24         Q     Line 17.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 70 of 207



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     3
               A

               Q
                     Yes, it does.

                     Okay.

                     Not at the time.
                                      And so now you remember saying, "No, I didn't.
                                                                                    11




     4         A     Yes.

     5         Q     Okay.            You met with -- you were in the automobile

     6               with              initially with two officers.

     7         A     Yes.
               r-.          ,;)~,;)    "': T,-..,,           =l l
     8         \.d   And    U..L.U.    yvu.             +-
                                                        t... ....... ...L.....L..        those officers of the description?

     9         A     No, I did not.

    10         Q     Did you tell those officers that she had,                                                            "said it

    11               was Sonny"?




•   12

    13

    14
               A

               Q
                     No, I did not .

                     Okay.            Then you went to the scene -- then you went to

                     the ambulance, correct?

    15         A     Yes.

    16         Q     Just so we get the progression right.                                                             You went to

    17               the ambulance.                                                 Did you give anyone at the .ambulance

    18               the description?

    19         A     No, I did not.

    20         -~    Okay.            And            -t="V"r'\1'Y\                  t-he.         arnbulance, I•Jhere did you go?
               'x!                                   ..1-.LVtU                      \.....L.L'-




    21         A     Children's Hospital.

    22         Q     Well, didn't you go out to the location of LaRose

    23               Place?



•   24         A     We went in the cruiser.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 71 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 72 of 207




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                                                                                72

     1               ambulance with her?

     2         A     I got in -- we left LaRose and we went back to the

     3               monastery.       That's when Tahisha Skeen got in the

     4               ambulance.

     5         Q     Okay.       And on the ride back from LaRose to Monastery

     6               you were accompanied by the police then.          You were in

     7               a cruiser/ right?

     8         A     Excuse me?

     9         Q     On the ride back from LaRose Place to Monastery, you

    10               were accompanied by the police.

    11         A     No.     I   was in the ambulance.




•   12

    13

    14
               Q




               A
                     Okay.       And there were police with you in the

                     ambulance, correct?

                     Yes.

    15         Q     Did you tell the police in the ambulance the

    16               description?

    17         A     I   did not, no.

    18         Q     Did you tell         so, then, from the ambulance, that's

    19               when Tahisha Skeen got in, over at Monastery.

    20         A     Yes.

    21         Q     And you said you knew Tahisha Skeen.

    22         A     Yes.

    23         Q     So you were comfortable with her.



•   24         A     Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 73 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 74 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 75 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 76 of 207



                                                                                          76



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     3
               Q

               A

               Q
                     All right.

                     Yes.

                     All right.
                                            Then you went to Ruby Williams' house.



                                            And you asked her, "Where 1   S   Sonny, 11

     4               correct?

     5         A     No.     I asked Michelle if she had seen Sonny.

     6         Q     And Michelle was the young girl, the granddaughter,

     7               at Ruby Williams' house?

     8         A     Yes.

     9         Q     Okay.    And you testified before that Ruby was in bed?

    10         A     Yes.     She was speaking to me from her bed.

    11         Q     From her bedroom, right?




•
    12         A     Yes .

    13         Q     The door was closed?

    14         A     No.     It was open.

    15         Q     It was open.             So you could see her through the crack

    16               in the door?

    17         A     Yes.

    18         Q     Okay.     Then you went back to Polly Taylor's.

               A     Yes, I    ...;j'..:J
                               ulu.


    20         Q     And you asked her where Sonny was.

    21         A     Yes.

    22         Q     Did she know?

    23         A     No.



•   24         Q     And did she make any effort to find him at that time?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 77 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 78 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 79 of 207
            Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 80 of 207



                                                                                                                                                  80



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      3
                  Q
                          me and all that would transpire and take place.

                          But you did not give a description to· a police

                          officer.

      4           A       No, I did not.

      5           Q      And you did not give the name of the person you felt

      6                   to be the perpetrator, did you?

      7           A      . No, I did not.

      Q
      '-'                                     MR.                      SHEP.~:   If I could just have a moment.

      9                                       THE COURT: Yes.

    10            Q       Is it your testimony today that in that meeting with

    11                    Detective McDonough, you told him that the individual




•
    12                    had beady eyes?

    13            A       Excuse me?

    14            Q       Is it your testimony here today that in that meeting

    15                   with Detective McDonough you told him that the

    16                    individual had beady eyes?

    17            A       I'm not sure.

    18            Q       Did you tell him that the person had a long nose?

    19            A       I'm not sure.
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                  '><!   And in   t-h=ot-
                                  '-.l..Lt..A. ' -
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                                                                                                      V'-~.1      sure that   "\Tf"""\11
                                                                                                                              :r~~         T..l·Jere

    21                    to give a description of the person who had done

    22                    this, aren't you?

    23            A       In the meeting with Detective IvicDonough?



•   24            Q       Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 81 of 207
                Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 82 of 207



                                                                                     82



•       1

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        3
                             looked familiar to you?



                            you ask her,
                                                          And she said, No.

                                        The next line asks her, "At any point, did

                                            'Was it Sonny?''' And she said, "Yes."

        4                   The girl said "Yes."      The next line after what she

        5                   was asked

        6                               THE COURT: The objection is sustained.

        7                              (End of side-bar conference.)

        8

        9                               MR. DEAKIN: Nothing further, your Honor.

    10                                  THE COURT: You may step down.

    11                                  Next witness.




•
    12                                  MR. DEAKIN: Your Honor, the people of the

    13                      Commonwealth of Massachusetts call Joseph Murray.

    14                                               (Pause)

    15                                  MR. DEAKIN: The people of the Commonwealth

    16                      would call Tahisha Skeen.

    17                                               (Pause)

    18                                  MR. DEAKIN: I'm really embarrassing myself.
    1   ,....
    .L,;;1                  If I could -- could I ask that Officer Murray be

    20                      called, Joseph Murray.       I apologize to the Court.

    21                                  THE COURT OFFICER: You want Officer Murray?

    22                                  MR. DEAKIN: Officer Murray.

    23                                  THE COURT OFFICER: Face the clerk and raise



•   24                      your right hand, please.
            Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 83 of 207



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     3
                                     THE CLERK: Officer, do you solemnly swear

                        the testimony you're about to give the jury

                        concerning the matter between the Commonwealth and

     4                  the defendant is the whole truth and nothing but the

     5                  truth, so help you God?

     6                               THE WITNESS: I do.

     7                               THE COURT OFFICER: Please be seated. .
     ,..,
     0


     9                                   JOSEPH MURRAY, SWORN

    10

    11                                    DIRECT EXAMINATION




•
    12            Q      (By Mr. Deakin) Would you please -- I'm going to ask

    13                  you, if you would, to pull the microphone as close to

    14                  you as you can, and point it up so that you're

    15                  speaking as directly into as you can.

    16                               Officer, can you introduce yourself to the

    17                  jury, please, and spell your first and last name for

    18                  the court reporter.

    19            A     Yes.     My name is Joseph Murray.     J-0-S-E-P-H, M-U-R-

    20                  R-A-Y.

    21            Q     How were you employed on Thursday, July 13th of 2000?

    22            A     Employed by the Boston Police Department.

    23            Q     And how long had you been a police officer at that



•   24                  time?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 84 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 85 of 207



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     3
               Q

               A

               Q
                     Were you in your cruiser at the time?

                     Yes.

                     And what was the call about?

     4         A      It was for a missing child.

     5         Q     Did the call instruct you where to respond?

     6         A     Yes.

     7         Q     And where was that?

     8         A     To 34 Fidelis Way.

     9         Q     What did you do when you got that call?

    10         A     We -- my partner and I responded to 34 Fidelis.

    11         Q     Was this your regular partner for that shift?




•
    12         A     No.

    13         Q     Who is your regular partner for that shift?

    14         A     That was Brendan Walsh.

    15         Q     Who responded with you that evening?

    16         A     Officer Paul Downey.

    17         Q     Were you in the same car, or separate cars?

    18         A     The same car.

    19         Q     How long did it take you to get there?

    20         A     No more than two minutes.

    21         Q     What did you find when you got to 34 Fidelis Way?

    22         A     When we arrived on scene, there was an elderly woman

    23               out in front of 34 Fidelis.



•   24         Q      In the front, outside the apartment building?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 86 of 207



                                                                              86



•    1

     2

     3
               A

               Q

               A
                     Yes.

                     How did she appear to you?

                     She was very distraught, very upset.

     4         Q     What was it about how she was acting or what she was

     5               doing that made you think that she was distraught or

     6               upset?

     7         A     Her.mannerisms, her tone of voice, the way she was

     8               pacing around"out front.

     9         Q     Did you learn her name, subsequently?

    10         A     Yes.

    11         Q     What was her name?




•
    12         A      It was Polly Taylor.

    13         Q     Had you ever met her before, that you knew of?

    14         A     No.

    15         Q     Did Polly Taylor tell you something at that time?

    16         A     Yes.

    17         Q     What did she tell you?

    18         A     She told us that her granddaughter was missing.

    19         Q     Did she give you any other details at that time?

    20         A      I don't recall.

    21         Q     Okay.    Did she give you any information about her

    22               granddaughter?     For example, did she give you her

    23               granddaughter's name?



•   24         A     Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 87 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 88 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 89 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 90 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 91 of 207
           Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 92 of 207



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•
·'

      1          Q     And who did you learn Mister is?

      2          A      It was Marvin Ampey.

      3          Q     Did you learn his address?

      4          A     Yes.

      5          Q     What was that?

      6          A     It was 32 Fidel is Way, Apartment 535.

      .7         Q     Jumping ahead a little bit, now, sir, did you speak

      8                \•Ji th M::l"Y""tr;   n
                                      y ...L.I..I.
                                   .L".L"-A...L.
                                                     Zlrnnc:n.T
                                                     .L.l.U~_t-'.._..1   that   .,;rrht-?
                                                                                ...... ..,_::::J ............



      9          A     Yes.

     10          Q     And what did he tell you?

     11                                            MR. SHEA: Objection.




•
     12                                            THE COURT: Sustained.

     13          Q     \.i!here was the conversation?                                                           Where did you have a

     14                conversation with Marvin Ampey?

     15          A     Out in front of 34 Fidel is Way.

     16          Q     And what was his demeanor like during that

     17                conversation?

     18          A     I    don't recall.

     19          Q     Anything stand out in your mind about his demeanor?

     20                J1.nything unusual?

     21          A      I don't remember.

     22          Q     Did you speak to Polly Taylor further when you got up

     23                to her floor?                            You said you went up to her floor.



•    24          A     Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 93 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 94 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 95 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 96 of 207


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               Q




               A
                     And how many other police officers would you say came

                     to help you?

                     I believe there was three other units that arrived.

     4               Maybe four to five officers.

     5         Q     Jl....nd were you able to tell what they did when they

     6               came to help you?

     7         A     No.

     8         Q     How long -- let me ask you this: At some point, did a

     9               supervisor come onto the scene?

    10         A     Yes.

    11         Q     And who was that supervisor?




•
    12         A     That was Sergeant Harry Byrne.

    13         Q     And was he a sergeant in your station at D-14?

    14         A     Yes.

    15         Q     Do you know approximately what time he arrived there?

    16         A     I believe it was sometime around midnight, shortly

    17               after.

    18         Q     And what did -- do you know what he did?

    19         A     I don't know what he did, no.

    20         Q     At some point, was a call put out for more

    21               assistance?

    22         A     Yes.

    23               ll~nd   "tflho put out that call?



•   24         A     That was done by Sergeant Byrne.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 97 of 207
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 98 of 207


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                 A

                 Q
                       Fifty to 60.    Maybe more.

                       Now, you say that Sergeant Byrne called out the

                       Emergency Deployment Teams.       Do you know at what time

      4                -- do you know, yourself, at what time that call was

      5               put out?

      6          A     I'm not sure exactly.      I believe it was sometime

      7               maybe after 1,2:30.

      8          Q    And let me ask you, just in general, as you were

      9                doing things, were you making note of times, looking

     10                at your watch and making note of time as you were

     11                doing things?




•
     12         A     Unfortunately, I didn't have a watch on that night.

     13          Q    How long would you say it took from the time -- by

     14                the way, how is it that you knew that the call went

     15                out for Emergency Deployment Teams?

     16         A     You could hear it on the radio.

     17         Q      Is that call put out over all the channels, all the

     18               police channels?

     19         A     Yes,   The supervisor notifies the dispatcher, who

     20               broadcasts citywide over all channels.

     21         Q     How long did it take for Emergency Deployment Team

     22               people to come into that area?

     23               Some units were there within minutes.         Other units 15



•    24               to 20 minutes.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 99 of 207



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               Q



               A
                     And what did the Emergency Deployment Teams do as

                     they arrived there?

                     Well, as they arrived, they just basically stood by

     4               until there was enough of us together, that the

     5               supervisor wanted me to brief them on the situation.

     6         Q     Where were they standing by when they were standing

     7               by?

     8         A     Adjacent to 34 Fidelis Way.

     9         Q     About what time would you say it was when enough

    10               Emergency Deployment Teams personnel were there, that

    11               it was time to brief them?




•
    12         A     Sometime after eleven.

    13         Q     And you said that the supervisor! Sergeant Byrne,

    14               asked you to brief them?

    15         A     Yes.

    16         Q     Why was it that he asked you to brief them?

    17         A     I   had all the current informationi the description of

    18               the girl, the last known whereabouts.

    19         Q            you brief the Emergency   Deplo}~ent   Teams?

    20         A     I was in the process of briefing them, yes.

    21         Q     Okay.    About how many officers would you say were --

    22               that you were briefing?

               A     Twenty to 25.



•   24         Q     Would that include officers from your station D-14 or
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 100 of 207
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 101 of 207


                                                                                 101



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                 Q

                 A

                 Q
                       Did she have on any shoes that you .noticed?

                       No shoes.

                       What did she do -- you say you saw her a few steps

      4                from her mother.     What did she do after you saw her?

      5          A     Basically, her mother grabbed hold of her, and within

      6                a few seconds Sergeant Merner stepped forward and

      7                escorted the mother and daughter over to a cruiser.

      8          Q     Who is Sergeant Merner?

      9          A     He's a supervisor assigned to Area B.

     10          Q     That's a police station in Roxbury?

     11          A     Yes.

     12          Q     And what was he doing there?

     13          A     He was a supervisor for the Emergency Deployment

     14                Teams.

     15          Q     So he is one of the people that had been summonsed

     16                there when the call was put out to the Emergency

     17                Deployment Teams?

     18          A     Yes.

     19          Q     And you said that Sergeant Merner put people into a

     20                cruiser?

     21          A     Put the mother and daughter into a cruiser.

     22          Q     Was anybody else with the mother and daughter in the

     23                cruiser?



•    24          A     There was another gentlemen.       I believe it was the
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 102 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 103 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 104 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 105 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 106 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 107 of 207



                                                                               107



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     3
                Q

                A

                Q
                      And who went that time?

                      There were several units that responded at that time.

                      Were you one of them?

     4          A     Yes.

     5          Q     Where did you go?

     6          A     I went directly to 24 LaRose Place.

     7          Q     What happened when you got back there?

     8          A     At that point/ the girl was pointing out some

     9                evidence that was on the street.

    10          Q     What did she point out?

    11          A     There was some duct tape in the middle of the street.




•
    12          Q     Did you see that yourself?

    13          A     Yes.

    14          Q     What happened to the duct tape?

    15          A     Sergeant Byrne recovered it.

    16          Q     Did you have any roler yourself 1 in recovering the

    17                duct tape?

    18          A     Just the fact that it was placed in my cruiser.

    19          Q     What was it ln when it was placed in your cruiser?

                A     I believe it was placed in a paper bag.

    21          Q     How long did you spend at 24          at LaRose Place the

    22                second time when you went back?

    23          A     Twenty minutes 1 maybe a half hour.



•   24          Q     Then what happened?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 108 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 109 of 207




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                                                                               109

     1                see that person being led out?

     2          A     Yes.

     3          Q     And who was that?

     4          A     It was the gentleman sitting there.

     5                             MR. DEAKIN: May the record reflect the

     6                witness has identified the defendant, Owen McCants?

     7                             THE COURT: Yes.

     8          Q     When he was -- where were you when he was taken out,

     9                or he was escorted out of 34 Fidelis Way?

    10          A     I was right in front of the doorway to 34 Fidelis.

    11          Q     And when he came out 1 were any of the officers




•   12

    13

    14
                A

                Q
                      holding him or restraining him in any way?

                      No.

                      Did he have handcuffs on, or any other kind of

    15                restraint?

    16          A     No.

    17          Q     How were the officers configured with respect to the

    18                defendant?

    19          A     I believe there was one in front, and several behind

    20                him.

    21          Q     Were you involved in escorting the defendant out of

    22                the building?

    23          A     No.



•   24          Q     What happened -- what happened next, after he was
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 110 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 111 of 207




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                                                                               111

     1          Q     And did she give you an account of that?

     2          A     Yes.

     3          Q     How long did you spend speaking to Officer Skeen?

     4          A     Five to ten minutes.

     5          Q     ~·Jere   you by yourself at this point?

     6          A     Yes.

     7          Q     After that ·five- to ten-minute-conversation, what did

     8                you do?

     9          A     At that point, I proceeded back to District 14.

    10          Q     And what were you going to do at District 14?

    11          A     At that time, I was to write a report, an incident




•   12

    13

    14
                Q

                A
                      report.

                      Did you write an incident report?

                      Yes.

    15          Q     And what time -- as best you can estimate, what time

    16                was it when you arrived back at Area D-14?

    17          A     I'm not certain.

    18          Q     But you were now -- you were now well over your

    19                shift; is that right?

    20          A     Yes.

    21          Q     Is that       how common is it for you to be held over

    22                your shift in a situation like this?

    23                             MR. SHEA: Objection.



•   24                             THE COURT: Sustained.
             Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 112 of 207



                                                                                                                                      112



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/



      1             Q      When you got -- you say you wrote an incident report?

     2              A      Yes.

      3             Q      Arid how did you write it?                               Did you write it by hand,

      4                    or type it, or ... ?

      5             A      It was handwritten.

      6             Q      Is that the preferred procedure, for a report to be

      7                    handwritten?
      /'"\
      0
                    7\
                    .M.
                           7\._
                           .M.L
                                    +-\....-..+-
                                    LUO.L           time, yes.

      9             Q      Okay.                   What did you do with the report once you wrote

    10                     it?

    11              A      Once it was completed, it was handed to Sergeant




•   12                     Byrne.

    13              Q      And why did you hand                        ~-~-
                                                                       ..1- ' -   to Sergeant Byrne?

    14              A      He's the supervisor.

    15              Q      And do you know what he did with your report?

    16              A      No, I don't.

    17              Q      Did you know whether Sergeant Byrne subsequently

    18                     wrote a report himself?

    19              A      Yes.
                    ,-..   1\-..J                          ..J~..J                             +-r.    "Y".O~T; CHaT
    " "
    L;V             l,d    .M.UU
                                      1-.-..J
                                      ua.u          you    U...LU    you have a chance         '-'-'          ....L.. ....... vv
                                                                                                       -'- ...... v                that

    21                     report

    22              A      Yes.

    23              Q      -- soon after it was written?



•   24              A      Yes.
           Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 113 of 207



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                  Q     Did he incorporate, in his report, information --

                                     MR. SHEA: Objection.

                                     THE COURT: Sustained.

     4                               MR. DEAKIN: May we approach side bar, your

     c::
     -'                 Honor?

     6                               THE COURT: Yes.

     7

     8            SIDE-BAR CONFERENCE:

     9                               MR. DEAKIN: Your Honor, I'm trying to draw

    10                  the statement here.      I turned over to defense counsel

    11                  in discovery what I learned about it.         Information




•   12                  that Sergeant Byrne had taken this man's report, had

    13                  incorporated much of        into his own report, and then

    14                  discarded this man's report.        I turned that over

    15                  because it's, arguably, you know, destruction of

    16                  evidence, whatever you want to call it.         It was, you

    17                  know, something I felt I had to turn over as

    18                  exculpatory evidence.

    19                               I expect the defense attorney to question

    20                  this officer about that, and I'd seek to withdraw the

    21                  statement, which I think I can, if defense counsel

    22                  says he's not going to inquire in that area, then

    23                  I'll stop.     I don't think he's going to say that.



•   24                               MR. SHEA: Of course I'm going to inquire in
              Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 114 of 207




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                                                                                    114

          1                that arear given 1 now 1 that the report that I didn 1 t
r
    ~·
          2                know 1 until the prior testimony/ that 1     S   been

          3                destroyed 1 is the report that would be about the time

          4   1            that she supposedly identified Sonny.
              I                        So I l l be making --
          5                                 1




          6                            THE COURT: Objection overruled.

          7                            MR. SHEA: Note my·objection.

          8                           (End of side-bar conference.)

          9

         10          Q     Officer Murray, when you wrote your report 1 did you

         11                have any information about the identity of the




•        12

         13

         14
                           alleged perpetrator?      By that I mean any information

                           from Officer Skeen about anything the victim had said

                           about an alleged perpetrator?

         15          A     Not that I recall.

         16          Q     When you      did you have a chance to review the

         17                report that Sergeant Byrne subsequently wrote --

         18          A     Yes.

         19          Q     -- about this incident?

         20          A     Yes.

         21          Q     In your opinion; had he incorporated the material

         22                from your report in his report?

         23          A     Yes .



•        24                            MR. SHEA: Objection.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 115 of 207




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                                                                                  115

     1                            THE COURT: Overruled.

     2          Q     And did you subsequently testify

     3                            MR. DEAKIN:     I 1 m sorry, your Honor.     If I

     4                may have a moment.

     5                                          (Pause)

     6          Q     Officer Murray, did you subsequently testify on

     7                Tuesday, September    5th   before the grand jury in this

     8                matter?

     9          A     Yes.

    10          Q     Did Sergeant Byrne incorporate every detail of your

    11                report in the report that he wrote?




•   12

    13

    14
                A

                Q
                      No.

                      Is there anything that you can think of that was in

                      your report that Sergeant Byrne didn't incorporate

    15                that you did not testify to either in the grand jury

    16                or before this jury today?

    17          A     I don't know.     I don't have a copy of that report.

    18          Q     Is there anything that you can think of, from that

    19                report, that you didn't testify to here today or in

    20                the grand jury?

    21                            MR. SHEA: Objection.      He already answered.

    22                            THE COURT: Overruled.

    23          Q     Please answer.



•   24          A     No.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 116 of 207




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                                                                               116

     1                            MR. DEAKIN: No further questions.

     2                            THE COURT: Mr. Shea.

     3

     4                                  CROSS-EXAMINATION

     5          Q     (By Mr. Shea) So you wrote up a police report?

     6          A     Yes.

     7          Q     Where is it?

     8          A     Where is my report?

     9          Q     Yeah.

    10          A     I handed it off to the supervisor.

    11          Q     Do you have a copy with you today?




•   12

    13

    14
                A

                Q

                A
                      No, I don't.

                      Did Officer Byrne ever give you a copy back?

                      No.

    15          Q     So your report has been destroyed?

    16          A     I don't know.     Not that I know of.

    17          Q     Well, Mr. Deakin asked you to try and find a copy of

    18                that report.    Did he?

    19          A     Did he ask me to try to find a copy of that report?

    20          Q     Or to find the original, find your police report.

    21          A     Was I asked that?

    22          Q.    Yes.

    23          A     No.



•   24          Q     The district attorney, upon hearing that your police
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 117 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 118 of 207



                                                                                 118



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     3
                A

                Q
                      I can't tell which buildings are which here.

                      All right.

                      believe, 34    1
                                         If I were to tell you that this is, I

                                         32 and that's the front street, would

     4                that help?

     5          A     No.

     6          Q     She came out through a whole in the fence along here.

     7          A     Yes.    I~m   a little confused as to the way this map is

     8                sitting.

     9          Q     Does this look like the monastery?

    10          A     Yes.

    11          Q     Okay.   And this is Fidelis Way?




•
    12          A     Yes.

    13          Q     And you drove her from Fidelis Way?

    14          A     Yes.

    15          Q     To the monastery?

    16          A     Yes.

    17          Q     To the parking lot?

    18          A     Parking lot.

    19          Q     To this large area here?

    20          A

    21          Q     And is it fair to say you went down Fidelis to

    22                Washington and up?

    23          A     Yes.



•   24          Q     Okay.   So, that's a very short distance, isn't it?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 119 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 120 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 121 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 122 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 123 of 207



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     3          A
                      you tell Sergeant Byrne to put that in his report due

                      to your conversation with Officer Skeen?

                      No.

     4          Q     Okay.     Did you relay that information to Officer

     5                Byrne?

     6          A     No.

     7          Q     But it is there in his report/ correct?

     8                Yes.

     9          Q     And if you know 1 this report was written at what

    10                time 1 to the best that you know?

    11          A     Sergeant Byrne's report, or ... ?




•
    12          Q     Yes .

    13          A     That/ I don't know.

    14          Q     Is there a column for date and time of the report?

    15          A     Yes.     Unfortunately, the bottom of my report is cut

    16                off.

    17          Q     It's cut off on all the copies.        But if I were to

    18                show you my copy, as to at least the date -- the date

    19                on that copy is July 14th?

    20                Yes.

    21          Q     Just two quick things.      You were with Sergeant Merner

    22                this whole time.     In the drive from Fidelis to

    23                Monastery with Sergeant Merner?



•   24          A     Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 124 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 125 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 126 of 207



                                                                                     126



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     3
                      that ride.

                                   I'm not saying it included only that ride,

                      but it certainly would have included

     4                             THE COURT: Well, he said he didn't hear it.

     5                             MR. SHEA: Well, he said he could hear the

     6                mother, and he didn't hear her say anything.             But

     7                that would have been critical information to have in

     8                a report.

     9                             THE COURT: He's already testified that he

    10                didn't hear anything.      So, the information is before

    11                the jury.




•   12                             MR. SHEA: Am I denied?

    13                             THE COURT: Pardon me?

    14                             MR. SHEA: Am I denied?

    15                             THE COURT: Yes.

    16                            (End of side-bar conference.)

    17

    18                                  (Luncheon recess.)

    19

    20                             (Jurors enter at 2:25p.m.)

    21

    22                             THE COURT OFFICER: This court is in

    23                session.     Please be seated.



•   24                             THE COURT: Want to call your next witness,
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 127 of 207



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     3
                       please.

                                   MR. DEAKIN: Your Honor, the people of the

                       Commonwealth of Massachusetts call Tahisha Skeen.

     4                             THE COURT OFFICER: Raise your right hand,

     5                 ma'am.

     6                             THE CLERK: Do you solemnly swear the

     7                 testimony you're about to give this jury concerning
     r.
     0                 the matter between the Commonwealth and the defendant

     9                 is the whole truth and nothing but the truth, so help

    10                 you God?

    11                             THE WITNESS: I do.




•
    12

    13                                 TAHI SHA SKEEN   I   SWORN:
                                                              _.,>..:,·· ~.
                                                                            ..·.

    14

    15                                   DIRECT EXAMINATION

    16           Q     (By Mr. Deakin) Would you introduce yourself, please,

    17                 to the jurors, and spell your first and last name for

    18                 the court reporter.

    19           A     Tahisha L. Skeen, T-A-H-I-S-H-A, Skeen, S-K-E-E-N.

    20           Q     And how were you employed on July 13th of 2000?

    21           A     I was a Boston police officer/ working in District

    22                 11.

    23           Q     How long had you been a Boston police officer at that



•   24                 time?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 128 of 207



                                                                               128



•    1

     2

     3
                A

                Q

                A
                      Three years.

                      Where is District 11?

                      Dorchester.

     4          Q     And what shift were you working?        Were you working on
                                                                                     "'I
     5                Thursday, July 13th?

     6          A     Yes.                                                             I
     7          Q     What shift were you working?

     8          A     Last half.

     9          Q     And what does "last half" mean?

    10          A     11:45 to 7:30 in the morning.

    11          Q     At some point       at some time after midnight, did you




•
    12                receive -- strike that.

    13                             Were you part of the Emergency Deployment

    14                Team at C-11?

    15          A     Yes.

    16          Q     And at some point after midnight, did you receive a

    17                call to respond to an emergency deployment?

    18          A     Yes.

    19          Q     And where were you instructed to respond?

    20          A     We were instructed to go to 34 Fidelis Way in

    21                Brighton.

    22          Q     How long did it take you to get there?

    23          A     About 20 minutes.



•   24          Q     Was there a large crowd present when you arrived
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 129 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 130 of 207



                                                                                   130



•    1

     2

     3
                A

                Q
                      Yes.

                      And did you understand that there was a report of a

                      missing girl?

     4          A     Yes.

     5          Q     How long after you started getting orders did

     6                something attract your attention and stop you from

     7                getting orders? .

     8          A     Not even five minutes.

     9          Q     And what was it that attracted your attention?

    10          A     They said the little girl was found.

    11          Q     Did you actually see her come back?




•
    12          A     I saw her running across the street.         ~AJe   were

    13                standing, getting orders, and you heard her crying,

    14                and we all turned around and we saw the little girl

    15                running across the street.

    16          Q     And did you see what happened to her after that

    17                happened?

    18          A     Yes.

    19          Q     What happened to her?

    20          A     We were by Monastery Road and they i.•Janted to get her

    21                away.   There was the media there.       And there was

    22                other witnesses -- well, not witnesses.             People

    23                gathering to see what was going on.         So they wanted



•   24                to get her away from all of that.        So they brought
            Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 131 of 207



                                                                                  131

       1                 her in a cruiser and brought her to the other side of

       2                 Monastery Road.

       3           Q     And when they did that initially, did you go to that

       4                 area?

       5           A     Initially, no.

       6           Q     What did you do when they were taking her to

       7                 Monastery Road?

       8           A     We were just all standing around waiting for orders

       9                 that we were released.

    10             Q     At some point, were you getting ready to leave?

    11             A     Yes.




•
    12             Q     And about how much time had passed between when she

    13                   came back and when you were getting ready to leave?

    14             A     About five minutes.

    15             Q     And then what happened?

    16             A     Officer Jesse Stots had came over to me and asked me

    17                   would I go with the victim to Children's Hospital,

    18                   because I was the only female that was on the
    1 0
    -'--'                Emergency Deployment Team.

    20             Q     And what did you do then?

    21             A     I went with him back over to Sergeant Byrne, and he

    22                   again said the same thing to me; would I go with the

    23                   victim and speak with her.       Just stay with her while



•   24                   we go to Children's Hospital, until Sexual Assault
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 132 of 207



                                                                                   132



•    1

     2

     3
                Q

                A
                      had arrived.

                      And did you see the girl after that?

                      Yes.

     4          Q     Where did you see her?

     5          A     Inside the ambulance.        After I spoke with them, I

     6                went over to the ambulance, and I saw her inside the

     7                ambulance.

     8          Q     When you saw her inside the awbulance, what was

     9                happening with her?

    10          A     She was being examined by the EMTs at that point.

    11          Q     And did you ask her questions while she was being




•
    12                examined by the EMTs?

    13          A     Not while she was being examined, not at first, no.

    14          Q     What happened after that?

    15          A     After they finished examining her, I said to her that

    16                they wanted to go back to where the crime scene was,

    17                if she remembered where the crime scene was.             And she

    18                said okay, she'll show us where she came running

    19                from.

    20          Q     }J·.nd V·lhere did you go?

    21          A     LaRosa (sic) Place.

    22          Q     Is that a street that you were familiar with before

    23                that time?



•   24          A     No.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 133 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 134 of 207



                                                                                134



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                Q



                A
                    r
                        As you went to LaRose Place, did you note whether

                        there was a white Corvette parked there?

                        Yes.     When we turned onto LaRose Place, there was a

     4                  white two-door sports car parked on the left-hand

     5                  side of the street.

     6          Q       Just so that the record is clear, did she ever

     7                  suggest to you that the white Corvette that she said

     8                  she had seen had any connection with the cr1me

     9                  itself?

    10          A       No.    She just stated that when she was running up the

    11                  street, that she saw the white Corvette, and she




•
    12                  remembered that being -- the white car being there.

    13                  That's what she remembered when she was running up

    14                  the street.

    15          Q       That was a landmark for her?

    16          A       Yes.

    17          Q       On the way over in the ambulance, did she discuss

    18                  with you what had actually happened to her?        Just yes

    19                  or no.

    20          A

    21          Q       When you got to LaRose Place, what happened?

    22          A       When we got to LaRose Place besides her mentioning

    23                  the white car, she stated that there was, like, a



•   24                  park area.     So we got in the ambulance.    She was
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 135 of 207




•
                                                                                135

     1                holding my hand and she was, like, pulling me down

     2                the street, showing me, like, her recollection; this

     3                is where I was coming fromi this is where I ran from.

     4          Q     And when she talked about a park area, what kind of

     5                an area was it?

     6          A     It was in the back of 24 LaRose Place.         It was a

     7                large yard.     And there was, like, -- to me, it was

     8                like a grill.

     9          Q     Officer Skeen, I'm going to show you a photograph

    10                that's been labeled Exhibit 4 in this trial, and ask

    11                you if you can see that.       I'm not sure it's




•   12

    13

    14          A
                      completely well-focused.

                      photograph?

                      Yes.
                                                      Can you see that




    15          Q     Do you recognize what's in that photograph?

    16          A     Yes.    That's where she brought us to.

    17          Q     And where is the brick grill thing?

    18          A     Right there on the left-hand side.

    19          Q     As you were on the scene -- just yes or no -- did she

    20                start to tell you about things that had happened to

    21                her?

    22          A     As far as the assault and everything?

    23          Q     Yes .



•   24          A     No.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 136 of 207




•
                                                                                136

     1          Q     Did she point anything else out to you besides the

     2                yard area, the grill?

     3          A     Yes.    When she showed me the brick, she showed me

     4                exactly how she was sitting behind there.          She

     5                stooped down and said this is where she was sitting

     6                at.    And then she started to remember that in the

     7                back there was a fenced area with a hole in it.          And

     8                she remerr~ers coming through there.

     9                             And she was, like, there was a path where

    10                they walked, and she said it was either like grass or

    11                something that was rubbing up against her, that she




•                     remerr~ers   walking through before they got to the
    12

    13                brick area.

    14          Q     Did she point anything else out to you while you were

    15                in that area of LaRose Place?

    16          A     Yes.   The duct tape that she had on her.

    17          Q     And where did she point that out?

    18          A     We were going back to the ambulance, and she stated

    19                that she had took the duct tape off of her eyes and

    20                face, and that she had balled it up and threw it in

    21                the middle of the street.       And we found it when we

    22                were going       like, the ambulance was kind of on top

    23                of it, but you could see it as she pointed it out,



•   24                that she saw it.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 137 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 138 of 207



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•    1

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     3
                Q
                      her.

                      And when you were asking her questions, was she able

                      to answer them/ at some point, in a narrative formi

     4                that is 1 starting at the beginning and moving through

     5                to the end?

     6          A     Yeah.   When we went to the hospital she started

     7                telling me from the beginning.        I asked her to tell

     8                me what happened from the beginning.         That's when she

     9                began the story from the beginning.

    10          Q     And did you subsequently share that information with

    11                officers from Area D-14?




•
    12          A     Yes.

    13          Q     During the time that you questioned herr did she tell

    14                you the name or identity of the man who had taken

    15                her?

    16          A     No.

    17          Q     Did you ask her for the name or identity of the man

    18                who took her?

    19          A     No.

    20                            MR. SHEA: Objection.

    21                            THE COURT: Overruled.

    22          Q     Why didn't you ask her that?

    23          A     Because Sergeant Byrne just wanted me to get



•   24                information of what had happened.        And the detectives
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 139 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 140 of 207



                                                                               140



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     3
                A

                Q

                A
                      No.

                      Have you ever been trained as a detective?

                      No.

     4                            MR. DEAKIN: Nothing further.

     5                             THE COURT: Mr. Shea.

     6

     7                                  CROSS-EXAMINATION

     8          Q     (By Mr. Shea) Good afternoon.

     9          A     Good afternoon.

    10          Q     She told you the person had on a stocking cap and a

    11                green, knit, winter hat.




•   12

    13

    14
                A

                Q

                A
                      Yes.

                      She didn't tell you any name?

                      No.

    15          Q     She didn't give you anymore descriptive detail?

    16          A     No.

    17          Q     Her mother was there 1 right?

    18          A     When it happened?

    19          Q     No, no.     In the car, with you, on the way to the

    20                hospital.

    21          A     In the ambulance, yes.

    22          Q     And did the mother/ when she heard her daughter

    23                giving these two points of description you've heard,



•   24                fill in any other description?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 141 of 207




•
                                                                                            141

     1          A     No.    Not that I recall.

     2          Q     Did her mother tell you, I know who it is, you don't

     3                have to get any description?

     4          A     No.    She never said that to me.

     5          Q     Now, you met with Sergeant Byrne before you went to

     6                the ambulance, correct?

     7          A     Before I went to -- yes.       Before I got in the

     8                ambulance, yes.

     9          Q     And he was the person who gave you instructions.

    10          A     Yes.

    11          Q     And didn't he, in fact,     instruct you to try to get as




•   12

    13

    14          A
                      much information as she could

                      to get as much information as you could?

                      About what happened 1 yes.
                                                                         meaning you -- try




    15          Q     Wouldn 1 t getting as much information as you can

    16                include getting a description of the perpetrator?

    17          A     No.    Actually, what he said to me, see if I can get

    18                any more information from her, seeing that I'm a

    19                female,   that she would feel more comfortable speaking
                                                        ~   ..c
    20                to me/ being a female.      See   1..1..
                                                                  "T'"
                                                                  ..L    can geL anything

    21                else out of her about what had happened with the

    22                incident.

    23          Q     Right.    But information -- this was an alleged



•   24                abduction/kidnapping/rape, correct?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 142 of 207



                                                                                       142



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                A

                Q
                      Correct.

                      A piece of information that would be something the

                      police department was interested in might be the name

     4                of the perpetrator?

     5          A     I didn't know she knew the perpetrator.

     6          Q     Okay.   And, so, for as far as you knew, it was never

     7                made clear that any name of the perpetrator had ever

     8                been mentioned.

     9          A     To me, no.

    10          Q     That is a significant detail, isn't it?

    11          A     Probably.




•
    12          Q     Probably?

    13          A     I mean/ she knows who he is, yes.

    14          Q     That would be of interest to you 1 wouldn 1 t it?

    15          A     Yes 1 to me.

    16          Q     Well, that would be, in terms of the parlance of

    17                information the detectives would be happy if you

    18                found out, that would be something you would be happy

    19                to provide them with, if you could.

    20          A     If she were to pass it along to me, yes.

    21          Q     Okay.   And she didn t pass it along to you?
                                                  1




    22          A     No, she didn't.

    23                             tv1R.   DEAI<I:t~:   Objection.   Asked and anS\lJered.



•   24                             THE COURT: Overruled.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 143 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 144 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 145 of 207




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                                                                               145

     1                during this time,      "The victim stated that the tape on

     2                her eyes was beginning to lift up, allowing her to

     3                see the suspect's face"?

     4          A     Yes.

     5          Q     So, you wrote in your police report, yes, there was

     6                duct tape coming up,      "allowing her to see the

     7                suspect's face"?

     8          A     She told me she couldn t see his face all the way.
                                                 1




     9          Q     You didn't put that in your police report.

    10          A     No. Apparently not, no.

    11          Q     And your police report, when did you write your




•   12

    13

    14
                A

                Q
                      police report?

                      That's not a police report, it's a Form 26.

                      Okay.   The Form 286?

    15          A     Twenty-six.

    16          Q     Twenty-six.    Okay.    When did you write the Form 26?

    17          A     Later that night, on the 14th.

    18          Q     Okay.   And I take it, in a Form 26,       they want you to

    19                be accurate?

    20          A

    21          Q     And you want to be accurate because it's a

    22                memorializing your memory, your thoughts, and the

    23                information on something that will be kept until a



•   24                day like today, correct?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 146 of 207



                                                                               146



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     2

     3
                A

                Q
                      Yes.

                      And it's also important because you're going to pass

                      it on to your supervisors.

     4          A     Yes.

     5          Q     P.u~d   you're going to pass it on to people who are

     6                taking over the investigation.

     7          A     Correct.

     8          Q     Okay.     And your memory was better.on that day than it

     9                is today

    10          A     Correct.

    11          Q     -- as to these events, correct?




•
    12          A     Correct.

    13          Q     Yes?

    14          A     Yeah.

    15          Q     And in your report, you wrote that she could see the

    16                suspect's face.

    17          A     Okay.      I left out the part that she told me that she

    18                didn't        she could see it, but she couldn't see a

    19                full face of the suspectA

    20          Q     That is a significant detail, isn't it?

    21          A     Yes.

    22                             MR. SHEA: Nothing further.

                                    THE COURT: Anything further?



•   24                              MR. DEAKIN: Nothing further.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 147 of 207




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                                                                                             147

     1                                    THE COURT: All right.             You may step down.

     2                                    Next witness.

     3                                    MR. DEAKIN: Your Honor, the people of the

     4                Commonwealth of Massachusetts call Harry Byrne.

     5                                    THE COURT: Ladies and gentlemen, sometimes
                                      .
     6                when a witness is testifying, I might ask a question.

     7                I want you to understand that any question I ask

     8                isn t any more important than any other question
                          1




     9                that    1
                                  S   asked.   Sometimes/ if I m confused/ I think
                                                                        1




    10                that someone else might be confused 1 so I just ask

    11                the question to clear it up.




•   12

    13

    14
                                          And/ of course 1 any question I ask/ do not

                      take that to mean that I have any opinion about

                      anything in this case.              It   1
                                                                   S   your job to decide this

    15                case 1 not mine.

    16                                    THE COURT OFFICER: Face the clerk and raise

    17                your right hand.

    18                                    THE CLERK: Do you solemnly swear the

    19                testimony you're about to give this jury concerning

    20                the matter between the Commonwealth and the defendant

    21                is the truth/ the whole truth 1 and nothing but the

    22                truth, so help you God?

    23                                    THE WITNESS: I do.



•   24                                    THE CLERK: Please have a seat/ sir.
                Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 148 of 207



                                                                                         148



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          3
                                                HARRY BYRNE 1 JR.   1   SWORN



                                            MR. DEAKIN: Your Honor, with the Court 1 s

          4                  permission/ Sergeant Byrne 1 it 1 S warm in the

          5                  courtroom.         I believe 1 if you wish to remove your

          6                  coat 1 with the Court 1 S permission.

          7                                 THE COURT·: Yes.

          8

          9                                       DIRECT EXAMINATION

    10                 Q     (By Mr. Deakin) Sergeant/ can you state your name and

    11                       spell your first and last name for the court




•
    12                       reporter?

    13                 A     My name is Harry, H-A-R-R-Y, A, Byrne, B-Y-R-N-E, Jr.

    14                 Q     And how were you employed on Thursday, July 13th of

    15                       2000?

    16                 A     A sergeant on the Boston Police Department.

    17                 Q     What was your assignment -- were you working on that

    18                       day?

    19                 A     Yes,    I   was.

    20                 Q     Where were you assigned?

    21                 A     District 14, in the Allston/Brighton section of

    22                       Boston.
    .........
    ,6..)              Q     And what shift were you working that day?



•   24                 A     11:45 to 7:30.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 149 of 207



                                                                                    149



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     3
                Q




                A
                      What was your -- what were your responsibilities on

                      that shift?

                      I was the patrol supervisor.

     4          Q     What does it mean to be the patrol supervisor?

     5          A     I   am in charge of all the uniformed men and women in

     6                the Allston/Brighton area.       If they need me, they

     7                call me.

     8          Q     J...nd as a result of being the patrol supervisor,       do

     9                you have to report at a different time from the rest

    10                of the shift?

    11          A     Yes.




•
    12          Q     When do you report on that shift?        Or, when did you

    13                report on that shift?

    14          A     About 10 : 3 0 p.m.

    15          Q     Do you recall what the weather was like that night?

    16          A     Hot and humid.

    17          Q     Did your station receive a radio dispatch shortly

    18                after midnight from the 9-1-1 operator?

                A     Yes.

    20          Q     J._l1d what was the call for?

    21          A     A missing child.

    22          Q     Did it say where the missing child was?

    23          A     34 Fidelis Way.



•   24          Q     Do you recall whether you heard the call when it
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 150 of 207



                                                                               150


•    1

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     3
                A

                Q
                      initially came in?

                      I don't recall.

                      Did you respond immediately when the call came in?

     4          A     When I was called, I responded immediately.

     5          Q     I mean, first thing when the call came ln, did you

     6                respond right away?      Were you one of the first people

     7                to respond

     8          A     No.

     9          Q     -- right when the call came in?

    10          A     No.

    11          Q     Who were the first people to respond?




•   12

    13

    14
                A     It was the Kilo 101, which is just a symbol of one of

                      the units.     Essentially a two-man unit, from the

                      Allston/Brighton station.

    15          Q     And the Kilo, for those of us less familiar with the

    16                police terminology, the Kilo stands for what, when

    17                you say "Kilo"?

    18          A     District 14.     That's just an Alpha designation for

    19                our area.

    20          Q     Do you mean K?     When you say "Kilo," you mean K.

    21                             And who was in the car at that time who

    22                responded?

    23          A     Officer Joe Murray and Officer Paul Downey.



•   24          Q     And is that the same Joe Murray who testified earlier
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 151 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 152 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 153 of 207



                                                                                153



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     3
                Q

                A

                Q
                      What time did you actually go to 34 Fidelis Way?

                      I responded probably around 11:30.

                      And when you say "probably," are you estimating

     4                times?

     5          A     Estimating.

     6          Q     Were you actually looking at your watch during this

     7                process to be precise·about time?

     8                No.

     9          Q     What did you find when you got to 34 Fidelis Way?

    10          A     I responded to 34 Fidelis Way.        There was a large

    11                crowd outside of 34 Fidelis.




•
    12          Q     And how many people would you say were in the crowd

    13                at that time when you· got there?

    14          A     Probably 50, give or take.

    15          Q     And did that crowd grow or shrink in size over the

    16                course of the next minutes or hours?

    17          A     Well, it just appeared to be a large crowd that

    18                stayed constant.

    19          Q     What was the atmosphere ln the crowd when you first

    20                got there?

    21          A     It was tense.     The people were upset.

    22          Q     Did you speak to anybody when you got to 34 Fidelis

    23                Way?



•   24          A     I spoke to a Marvin Ampey.       I spoke to another woman
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 154 of 207




•
                                                                               154

     1                who I don't recall her name.        I spoke to a number of,

     2                like, 11-, 12-, 13-year-old girls.

     3          Q     Did you speak -- when you got there, did you speak,

     4                yourself, to Polly Taylor or not?

     5          A     Yes, I did.

     6          Q     And where did that conversation take place?

     7          A     That was up in the apartment at 34 Fidelts.
                                                                               .
     8          Q     Did you have an occasion         did you have a chance to

     9                observe her apartment?

    10          A     Yes, I did.

    11          Q     Did you see -- did you have a chance to observe the




•   12

    13

    14
                A
                      door and the lock on the door?

                      I   didn't actually examine it, but I

                      with the lock.
                                                                saw the doorknob



    15          Q     Did you see any signs, as you looked at it, of forced

    16                entry at all?

    17          A     No.

    18          Q     Just yes or no, did Polly Taylor give you information

    19                about what had happened earlier that evening?

    20          A

    21          Q     When you spoke to Marvin Ampey, where did that

    22                conversation take place?

    23          A     Out in front of 34 Fidelis.



•   24          Q     And how long after you got there would you estimate
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 155 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 156 of 207



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     3
                Q     Let me ask you, Sergeant Byrne, prior to that

                      notification, had you requested, or had anyone else

                      requested additional officers from Area D-14 to come

     4                to the scene?

     5          A     Yes, they did.      I had the units from D-14 and I had

     6                units from D-4 respond.

     7          Q     And did D-14 and D-4        are they under sort of a

     8                coordinated coromand?

     9          A     Yes.

    10          Q     Are they two stations in the same area?

    11          A     Two stations in the same area.




•   12          Q     And before calling out the EDTs, approximately how

    13                many officers from D-14 and D-4 had come to the

    14                scene?

    15          A     I   want to say between 12 and 20.

    16          Q     And what were those officers doing as they arrived?

    17          A     I   had them search the area of St. Gabriel's, the

    18                church area, down towards St. Elizabeth's, and you

    19                can cut through there and there's roadways through

    20                there.

    21                            I   had the entrance, the two roadways into

    22                34 Fidelis housing area blocked by police; nobody in,

    23                nobody out.



•   24          Q     Was that after the Emergency Deployment Teams came,
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 157 of 207


                                                                                 157


•    1

     2

     3
                A

                Q
                      or before?

                      Before.

                      Okay.     What did you -- did you search 34 Fidelis Way

     4                at all?

     5          A     The original officers -- we had searched the hallway

     6                going up to the roof, and the basement of 34 Fidelis,

     7                and the perimeter of that building..

     8          Q     What time was it, if you recall, that you put out the

     9                request for the Emergency Deployment Team?

    10          A     I would say probably a half an hour to 45 minutes

    11                after I had arrived on the scene.




•
    12          Q     And how long did it take for Emergency Deployment

    13                Team officers to come?

    14          A     They got there pretty quick.       I'd say, because they

    15                were coming from all parts of the city, maybe a half

    16                an hour for all of them to get there.

    17          Q     And what time was it, would you say, when all the

    18                Emergency Deployment Team officers were there?

    19          A     Between 1:30 and 1:45.

    20          Q     As you -- 1:30 and 1:45?

    21          A     Somewhere in that -- about 12:30 to one something.

    22                It wasn't that long a period of time.

    23          Q     I'm confused by the time frames.        When was it that



•   24                you think they got there?
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 158 of 207


                                                                                  158



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     3
                A     Well, I got there around 11:30, and I probably called

                      them around twelve, somewhere in that area.

                      were probably there by 12:30.
                                                                           They



     4          Q     And were you making notes of the times, at that time?

     5          A     No.

     6          Q     What happened once all the Emergency Deployment Team

     7                officers were there?

     8          A     I had all the cars line up, and I had them stand roll

     9                call.

    10          Q     And where did that take place?

    11          A     Outside of 34 Fidelis Way, in the parking lot.




•
    12          Q     In the parking lot?

    13          A     Yes.

    14          Q     Is that the parking lot right across the street from

    15                Fidelis Way?     If it would help you to show on the

    16                diagram, please, with the Court's permission.

    17                             THE COURT: Yes.

    18          A     (Witness complies.)

    19          Q     I think Fidelis Way is

    20          A     This is 34 right here.

    21          Q     Actually, if I may, I can draw your attention, here.

    22                This is Fidelis Way here, labeled.

    23          A     The parking lot was actually right in this little



•   24                area here.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 159 of 207


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     3
                Q




                A
                      And what was your purpose in having them stand for

                      roll call?

                      So I could give out the assignments.

     4          Q     And was anybody assisting you in briefing the

     5                Emergency Deployment Team people?

     6          A     Sergeant Robert Merner.

     7          Q·    Okay.   Did Joe Murray assist you, as well?

     8          A     He was there, yes.

     9          Q     And how long -- as you were giving out assignments

    10                what kind of assignments were you giving out?

    11          A     Well, I had a lighting truck respond.         I had canine




•   12

    13

    14
                      units respond.     As I was giving out

                      about to give out the directions to go to each

                      individual building.
                                                                    I was just



                                                I was going to send teams to

    15                each individual building and start -- have a guy on

    16                the bottom and have the rest of them go up to the top

    17                and work their way down, and go door-to-door,

    18                knocking door-to-door.      And just at that moment,

    19                that's when the little girl came running out of St.

    20                Gabriel's.

    21          Q     And did you note approximately what time it was when

    22                she came running out?

    23                I think it was around 1:45, 1:50 ..



•   24          Q     Is there something that could refresh your
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 160 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 161 of 207


                                                                               161


•    1

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     3
                      unit.

                      bosses.
                                And there's five areas.

                                  So 20 more.

                      might have been more.
                                                            So 15 plus five more

                                                I would actually think there



     4          Q     Okay.     So you suggested that it was as they were all

     5                gathering that she came back, it was around 1:20.         I

     6                believe you testified it had been about a half an

     7                hour for all of them to arrive.

     8          A     Right.

     9          Q     Does that help you pin down when you put out the call

    10                for the EDTs to come?

    11          A     Right.     So it would be around 12:15.




•
    12          Q     Okay.     And, again, these are approximate times?

    13                             MR. SHEA: Objection.

    14                             THE COURT: Overruled.

    15          Q     These are approxima·te times?

    16          A     I'm -- yeah.     I'm estimating.

    17          Q     Did you see the girl as she came back?

    18          A     Yes, I did.

    19          Q     Okay.     Where did you -- where was she when you first

    20                saw her?

    21          A     She was running with her arms up in the air.

    22          Q     And where was she when you first saw her?

    23          A     She had come from



•   24          Q     You can
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 162 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 163 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 164 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 165 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 166 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 167 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 168 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 169 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 170 of 207




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                                                                                170

     1          A     Yes.

     2          Q     And just who was it that you spoke to?

     3          A      I spoke to Owen McCants' niece.

     4          Q     Did you know, when you spoke to her, that she was

     5                Owen McCants' niece, initially when she approached

     6                you?

     7          A     She told me she was.

     8          Q     Okay.    Can you describe her?      Generally, what she

     9                looked like?

    10          A     Just a black -- young, black female.

    11          Q     Okay.   About how old would you estimate that she was




•   12

    13

    14
                A

                Q
                      at that time?

                      Sixteen to 18.

                      Did she tell you her name?

    15          A     She might have, but I just don't remember it.

    16          Q     After -- how long was your conversation with her?

    17          A     I talked to her for a while.

    18          Q     And after speaking with her, what is the next thing

    19                that you did?

    20          A     She invited us into her apartment at 34 Fidelis Way.

    21          Q     Her apartment?

    22          A     She said it was her apartment.

                Q     And where did -- how did you get into 34 Fidelis Way?



•   24          A     She opened the door.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 171 of 207




•
                                                                                   171

     1          Q     I'm asking how did you get into the building?

     2          A     The front door.

     3          Q     And how were you able to gain entrance?         Was that

     4                open?   Was that kept open?

     5          A     It was kept open.

     6          Q     And when you went in with this young woman, were

     7                there other officers with you?

     8          A     Yes.

     9          Q     Do you recall which other officers were with you?

    10          A     Officer Kelly, Officer Whitkens, Sergeant Merner,

    11                Officer Dan MacDonald, Officer Joe Murray, Officer




•   12

    13

    14          Q
                      Paul Downey, Officer Chris Curtin, Officer Mike

                      McManus.

                      And where did you go?

    15          A     We went to Apartment 544         545 and 546.

    16          Q     And I'm going to show you a diagram here.          How did

    17                you get up to that -- by the way, is that actually

    18                the fourth floor, although the numbers are five?

    19                Yes .

    20          Q     How did you get up to the fourth floor?

    21          A     We were going to take the elevator, but it didn't

    22                work.   So we walked up the stairs.

    23          Q     And as you get off the stairs, you went to an



•   24                apartment?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 172 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 173 of 207


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     3
                                   MR. DEAKIN: He said 1

                      you anymore questions."
                                                              "I'm not going to ask

                                                        He felt that he was being

                      evasive[ and didn't want to ask anymore questions.               I

     4                don't see any basis for a voir dire.

     5                             MR. SHEA: Well   1    under the law there's a

     6                basis.   Which means any time, if I ask for one          1   I get

     7                one.

     8                             THE COURT: Voluntariness/ right?

     9                             MR. SHEA: Yeah.        But 1 I meant we at least

    10                see if it was voluntary --

    11                             THE COURT: Pardon me?




•
    12                             MR. SHEA: We at least hear from the officer

    13                if it was voluntary, out of the range of the jury.

    14                             MR. DEAKIN: I think the issue of

    15                voluntariness as being raised by the defense.

    16                There's no basis for any suggestion that his

    17                statement was anything but voluntary.           Until it's

    18                fairly raised   1   I don't think there's a reason for a

    19   I            voir dire.

    20   I,.                       MR. SHEA: The case law is very clear that

    21                it doesn 1 t have to be by a motion to suppress

    22   I            statements.     It can be at trial, right now 1 asking to

    23   I            have it checked on.      And I'm asking to have it



•   24                checked on before this goes before the jury.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 174 of 207


                                                                               174


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     3
                                   MR. DEAKIN: I think there has to be some

                      suggestion by defense that the statement was not

                      voluntary.

     4                             THE COURT: Overruled.

     5                             MR. SHEA: The other thing I'd like to get

     6                into is it's kind of left hanging there as to why the

     7                niece, I guess, of my client brought the police up to

     8                the apartment.     I'm just curious what testimony you

     9                expect to elicit.

    10                             THE COURT: Well, he's not going to testify

    11                to what somebody else told him.




•
    12                             MR. SHEA: Okay.

    13                             MR. DEAKIN: I don't know what else I can

    14                do.

    15                            (End of side-bar conference.)

    16

    17          Q     Who directed you, Sergeant, to Apartment 545?

    18          A     The female.     Owen McCants' niece.     I don't remember

    19                her name.

    20          Q     When you got there, do you recall if the door to the

    21                apartment was open or closed?

    22          A     It was open.     It was ajar.

    23          Q     And did you enter the apartment?



•   24          A     Yes, we did.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 175 of 207




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                                                                                  175

     1          Q     Did the young woman enter the apartment, as well?

     2          A     Yes.

     3          Q     Did she enter before you, or after you?

     4          A     She was ahead of us.

     5          Q     When you came into the apartment, what did you see?

     6          A     I noticed an elderly"woman sitting at a small counter

     7                or table in the kitchen area.        She appeared to be in

     8                her eighties, maybe late eighties.         And another woman

     9                sitting more towards the dining room, which appeared

    10                to be in her seventies.

    11          Q     Did you subsequently learn the identify of these




•   12

    13

    14
                A

                Q
                      women?

                      Yes.

                      Who were they?

    15          A     The elderly -- the older of the two, on the right,

    16                was Christine Isaacs, and the other woman was Polly

    17                Taylor.

    18          Q     And had you ever met either of them before?          Did you

    19                J~now   them?

    20          A     No.

    21          Q     What did -- what, if anything, did you do when you

    22                got into the apartment and saw the two women there?

    23          A     They were just talking to the girl.         She had asked



•   24                her some questions.
              Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 176 of 207




•
                                                                                         176

       1             Q     After you had that -- how long was that conversation

       2                   with the girl?

       3             A     It started outside and worked its way up to the

       4                   apartment.

       5             Q     How long was the conversation, all told, starting

       6                   outside?

       7             A     Probably five minutes.

       8             Q     And at the end of that conversation, what's the next

       9                   thing that happened?

    10               A     I observed a black male come out from the back

    11                     bedroom area.




•   12

    13

    14
                     Q

                     A

                     Q
                           Down what appears to be a bit of a hallway there?

                           Yes.

                           A small hallway.     When the black male came out, what

    15                     was he doing?

    16               A     He appeared to be getting dressed, drying off.           In

    17                     the process of getting dressed.

    18               Q     When you say "drying off," you mean with a towel?

    10
    .J..../          A     Yes.

    20               Q     Okay.   Was he -- when you say "getting dressecL" ·what

    21                     was he getting dressed with?

    22               A     He was -- he had his shirt unbuttoned.

    23               Q     Was he actually -- was he buttoning the shirt?



•   24               A     Yes.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 177 of 207



                                                                                177


•    1

     2

     3
                Q



                A
                      Did you actually see a towel, or was he buttoning

                      were you assuming he was drying off with a towel?

                      That's what I thought he was doing was drying off.

     4          Q     What made you think he was drying off?

     5          A     Just what he was doing with the shirt.

     6          Q     Did he appear damp at all?

     7          A     Yes.

     8          Q     Could you tell whether that was

     9                            MR. SHEA: Objection.      Motion to strike.

    10                            THE COURT: Overruled.

    11          Q     Could you tell whether that was from bathing or from




•   12

    13

    14
                      sweating, or what was damp?

                      question.
                                                        I ' l l rephrase the



                                  Could you determine what was the source of

    15                the dampness?

    16          A     No.

    17          Q     When you saw the African American male come out from

    18                back there, what did you do?       What's the next thing

    19                that happened?

    20          A     I   just asked him if I could talk to him.

    21          Q     Did you know who he was?

    22          A     No.

    23          Q     Okay.   Had he been identified to you by anybody?



•   24          A     No.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 178 of 207



                                                                                                    178



•    1

     2

     3
                Q




                A
                      Did you

                      him?
                                          --    what made you think you wanted to talk to



                      The young girl said that her uncle

     4                                         MR. SHEA: Objection.

     5                                         THE COURT: Sustained.

     6          Q     Did somebody"direct your attention to him as being

     7                the person you were looking for?

     8          A     The young girl.

     9                                         MR. SHEA: Objection.

    10                                         THE COURT: Sustained.

    11                                         MR. SHEA: Motion to strike.




•
    12                                         THE COURT: Stricken.

    13          Q     Did somebody direct your attention to him?

    14          A     Yes.

    15          Q     Who was that?

    16          A     The niece.

    17                                         MR. SHEA: Objection.

    18                                         THE COURT: Sustained.

    19          Q     Did    1: Tr'\1 1
                             .z~~         subsequently determine the identity    ~+=
                                                                                 V.L
                                                                                       -1-"h~
                                                                                       L..l.J.C::




    20                African American male you saw coming from the back?

    21                Did you subsequently learn who he was?

    22          A     Yes.

    23          ll
                >c:   And vJho did you learn that               "h~
                                                                uc;:   was?



•   24          A     Owen McCants.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 179 of 207


                                                                                179



•    1

     2

     3
                Q




                A
                      Do you see that individual that you saw coming out

                      from. the back on that day here in court today?

                      Yes.

     4          Q     Could you point him out, please, and describe an

     5                article of his clothing?

     6          A     Right there.

     7          Q     Describe an article of his clothing, ·if you would, so

     8                we know --

     9          A     White shirt, black tie.

    10                                 MR. DEAKIN: May the record reflect the

    11                witness has identified the defendant, Owen McCants?




•
    12                                 THE COURT: Yes.

    13          Q     Is his appearance today -- does he appear virtually

    14                identical to the way you saw him that day?

    15          A     No.

    16          Q     What's changed?

    17          A     His hair.

    18          Q     How was his hair on the day that you met him?

    19          A     It was shorter.

    20          Q     Okay.   How short would you describe it?

    21          A     Just shorter than it is now.         A lot shorter than

    22                that.

    23          Q     Okay,   -~..nd    what about his facial hair?



•   24          A     I don't think he had any.          I'm not really -- I really
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 180 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 181 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 182 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 183 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 184 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 185 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 186 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 187 of 207


                                                                               187



•    1

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     3
                Q
                                  THE COURT: Sustained.

                      Did you subsequently learn whether that white powder

                      was a narcotic or not?      After the fact.

     4          A     After the fact?

     5          Q     Yes.

     6          A     There wasn't enough to ....

     7          Q     Did you, in fact, learn .that it was tested and was

     8                not cocaine?

     9          A     Right.

    10          Q     What else attracted your attention?

    11          A     I saw a sharp object.      I saw --




•   12

    13

    14
                Q

                A
                      What was the sharp object that you saw?

                      It was a chisel.

                                  MR. SHEA: Objection.

    15                            THE COURT: Overruled.

    16          Q     Where was the chisel located?

    17          A     That was on a desk.

    18          Q     And why did that attract your attention?

    19          A     Part of the description that we received/ the little

    20                girl stated that the person used a sharp object

    21                against her neck.

    22          Q     Did you subsequently learn that she had described a

    23                knife that was different from a chisel?

    24          A     Yes.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 188 of 207


                                                                               188



•    1

     2

     3
                Q




                A
                      But you didn't know that at the time; is that

                      correct?

                      No.

     4          Q     What else attracted your attention?

     5          A     There was a brown liquid in a brandy snifter glass,

     6                and the description the little girl stated that she

     7                was .forced to drink a

     8                             MR. SHEA: Objection.

     9                             THE COURT: Overruled.

    10          Q     Go ahead.

    11          A     She was forced to drink a funny-tasting liquid.




•
    12          Q     Okay.     Did you notice anything else that attracted

    13                your attention?

    14          A     The top bureau drawer was open, hanging down, and

    15                right on top was a stocking, which could be pulled

    16                down over the face.

    17          Q     On top?

    18          A     On the top of the -- in other words, the bureau of

    19                the drawer was open and it was inside the drawer.

    20          Q     Okay.     And why did that attract your attention?

                A     The description of the black male, green shirt, dark

    22                pants, stocking mask.

    23          Q     Did you notice anything else that attracted your



•   24                attention?
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 189 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 190 of 207


                                                                                190


•    1

     2

     3
                A
                      the room?

                      Well, I told him we were leaving, and as we were

                      leaving, he just followed us out.

     4          Q     What steps did you take -- did you take any steps to

     5                secure the bedroom?

     6          A     Yes.

     7          Q     What steps did you take to secure the bedroom?

     8          A     I had two officers cordon off the room with yellow

     9                crime scene tape.

    10          Q     And what was the purpose in cordoning off the room

    11                with yellow crime scene tape?




•   12

    13

    14
                A

                Q
                      To secure a search warrant.

                      And what was the -- why would you secure it with

                      yellow crime scene tape in order to secure a search

    15                warrant?

    16          A     Why would I do that?

    17          Q     Yes.

    18          A     I didn't want to violate his rights.         I mean, he --

    19          Q     I guess what I'm asking, a simpler question -- and

    20                maybe I'm not being clear -- what is the purpose of

    21                putting yellow crime scene tape up and posting

    22                officers there?

    23          A     To gather evidence.



•   24                            MR. SHEA: Objection, your Honor.        The
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 191 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 192 of 207



                                                                                192



•    1

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     3
                A

                Q
                      Yes.

                      After you left the bedroom and Mr. McCants left the

                      bedroom while you were there, did anyone go into that

     4                bedroom before the detectives came with a search

     5                warrant?

     6                            MR. SHEA: Objection.

     7                            THE COURT: Sustained.

     8          Q     While you were there.      While you were there, before

     9                you left the apartment, did anyone go in or out of

    10                that bedroom, after it was taped?

    11          A     No.




•
    12                            THE COURT: Excuse me a second.        I meant to

    13                tell the jury this a little earlier.         That you heard

    14                evidence from this witness regarding statements that

    15                allegedly were made or attributed -- made by or

    16                attributed to Mr. McCants concerning what took place

    17                that night.

    18                            I ll instruct you in more detail at the end
                                    1




    19                of this about -- at the end of this case about the

    20                matter, but, however, I want you to understand, at

    21                this time that this statement is offered in evidence

    22                that before you may consider the content of any such

    23                statement by the defendant as evidence, you are going



•   24                to have to make a preliminary determination about
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 193 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 194 of 207
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 195 of 207




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                                                                                195

     1          Q     And at the end of that conversation, did Mr. McCants

     2                arrive at a decision about whether he would stay or

     3                leave?

     4                             I'll withdraw that.     I'll rephrase that

     5                       r'
                      ques~lon.



     6                             At the end of that conversation, did you

     7                leave the apartment?

     8          A     Yes.

     9          Q     Did other officers leave the apartment with you?

    10          A     Yes.

    11          Q     Was the defendant still in the apartment when you




•   12

    13

    14
                A

                Q
                      left?

                      No.

                      Did he, in fact,    leave with you?

    15          A     He didn't leave with me, no.

    16          Q     Well, did he leave with other officers?

    17          A     Yes.

    18          Q     Did you see the other officers who left with him?

    19          A     Yes.

    20          Q     Were any of the other officers holding Mr. McCants as

    21                they left the building?

    22          A     No.

    23          Q     A~d    how did they get out of the building?



•   24          A     They either walked or took the elevator.
         Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 196 of 207




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                                                                               196

     1          Q     And were they -- when Mr. McCants left, was he

     2                restrained in any way with handcuffs or any other

     3                form of restraint?

     4          A     No.

     5          Q     Had you placed Mr. McCants under arrest at that time?

     6          A     No.

     7          Q     Did you give instructions to the officers as to where

     8                to take Mr. McCants?

     9          A     Yes.

    10          Q     And where was that?

    11          A     District 14.




•   12

    13

    14
                Q

                A

                Q
                      Was he under arrest as he was taken to District 14?

                      No.

                      How did he get to District 14, if you know?

    15          A     He was given a ride by one of the police vehicles.

    16          Q     At some point after he was at District 14, was he

    17                placed under arrest?

    18          A     Yes.

    19          Q     And \liJas that at your direction?

    20          A     Yes.

    21          Q     After you left the apartment, was your attention

    22                drawn to another location in the area of 34 Fidelis

    23                Way?



•   24          A     Yes.
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 197 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 198 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 199 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 200 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 201 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 202 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 203 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 204 of 207
Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 205 of 207
          Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 206 of 207




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                                                                                206

      1                this matter on Tuesday, September 5th of 2000?

      2          A     Yes.

      3          Q     And were you also called to testify at a hearing in

      4                this case in May 2001?

      5          A     Yes.

      6          Q     And in.both instances did you testify at those

      7                hearings, both the grand jury and at the he-aring?

      8          A     Yes.

      9                            MR. DEAKIN: Nothing further.

     10                            THE COURT: All right.      Look, why don't we

     11                break at this time and we'll start cross-examination



••   12

     13

     14
                       in the morning.     We'll let the jury go at this time.

                                   Why don't you put those things back in your

                       envelopes and leave them on your chairs and the court

     15                officer will collect them.

     16                           Don't talk about this case or allow anyone

     17                to talk to you about it.       If you should happen to see

     18                a newspaper, radio, or television account of this

     19                trial, do not read or listen.        I'll see you at 9:30

     20                in the morning.
                                                                                      I
     21                           THE CODKT OFFICER: Jurors, please rise.
                                                                                      I
     22

     23                         (Whereupon, the Court adjourned.)



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Case 1:21-cv-10386-DJC Document 39-8 Filed 03/15/22 Page 207 of 207
